          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION

                     CRIMINAL CASE NO. 2:09cr29-1


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                     ORDER
                          )
                          )
ALBERT ESPINOZA.          )
                          )



      THIS MATTER is before the Court on the Defendant’s Request for

Reconsideration [Doc. 87].

      On January 11, 2010, the Court denied the Defendant’s motion to

continue as premature. [Doc. 85]. The denial was based on the

Defendant’s earlier motion for an extension of time within which to file a

plea agreement, a request which had been granted. [Doc. 74]. The Court

found counsel’s positions in conflict. On one hand, counsel sought

additional time within which to negotiate and consider a plea agreement

with his client. On the other hand, he later moved to continue the case

from the trial calendar. Because the time within which the Defendant may

file a plea agreement has not yet run, the Court denied the motion to



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continue as premature so that counsel may continue with his negotiations

and discussions with the Government and his client.

     Defense counsel now seeks reconsideration, claiming the Court has

placed the Defendant in “an unfair catch 22 position in making” a decision

about whether to pled guilty when his attorney is not prepared to try the

case. The Court has not placed the Defendant in any position; indeed, the

Court has granted the very relief sought, an extension of time within which

to consider pleading guilty. Counsel remains capable of evaluating the

wisdom of entering into a plea agreement, reviewing discovery and

continuing discussions with the Government and the Defendant.

     IT IS, THEREFORE, ORDERED that the Defendant’s Request for

Reconsideration [Doc. 87] is hereby DENIED.

                                      Signed: January 14, 2010




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